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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE SIXTH CIRCUIT


 ALLSTATES REFRACTORY
   CONTRACTORS, LLC,

               Plaintiff-Appellant,

                           v.                                       No. 22-3772

 JULIE A. SU, in her official capacity as Acting
   Secretary of Labor, et al.,

               Defendants-Appellees.


 UNOPPOSED MOTION FOR 21-DAY EXTENSION OF TIME TO FILE
           RESPONSE TO REHEARING EN BANC

      Pursuant to Federal Rule of Appellate Procedure 27, the government

respectfully requests a 21-day extension of time, to and including December 5, 2023,

to file a response to the petition for rehearing en banc. The government recognizes

that this Court’s order directing a response indicates that “no extensions will be

granted.” See Order (Oct. 31, 2023). For the reasons explained below, we

nonetheless believe the requested extension is appropriate under the circumstances

and will not prejudice the parties.

      1. Plaintiff filed this suit in September 2021, alleging that Congress

unconstitutionally delegated legislative authority to the Occupational Safety and

Health Administration (OSHA). See Compl., R. 1, PageID#1. The district court
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granted summary judgment to the government in September 2022. See Order, R. 30,

PageID#367.

       2. On August 23, 2023, a panel of this Court affirmed the district court,

agreeing with two other courts of appeals that Congress did not unconstitutionally

delegate lawmaking power to the agency. Op. 1.

       3. On October 6, 2023, plaintiff filed a petition for rehearing en banc. Three

amici filed motions for leave to file briefs in support of the petition for rehearing en

banc, which this Court granted on October 11 and October 19, 2023.

       3. On October 31, 2023, this Court entered an order directing the government

to respond to the petition for rehearing en banc no later than “close of business on

Tuesday, November 14, 2023.” Order (Oct. 31, 2023).

       4. The government respectfully requests a 21-day extension of time, to and

including December 5, 2023, in which to respond to the petition for rehearing en

banc. The undersigned believe that the requested extension is necessary to ensure

adequate time to prepare and file the response to the petition, including any response

to the arguments raised by the three amici that have filed briefs in support of the

petition. The requested extension is also necessary to ensure adequate time to

coordinate review with the agency and interested components of the Department of

Justice.

       Courtney Dixon, who has primary responsibility for the government’s

response, will be traveling and presenting oral argument to the Fifth Circuit in Deanda
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v. Becerra, No. 23-10159 (5th Cir.), on November 6. Ms. Dixon will also be out of the

office on November 10, a federal holiday. In addition, Ms. Dixon has primary

responsibility for the government’s response briefs in Walmsley v. Federal Trade

Commission, No. 23-2687 (8th Cir.) (due December 13), and McRorey v. Garland, No.

23-10837 (5th Cir.) (due December 18). Ms. Dixon is also responsible for drafting the

government’s brief in opposition in Oklahoma v. United States, No. 22-5487 (S. Ct.)

(due December 18). Ms. Dixon will be out of the office on prearranged travel for the

Thanksgiving holiday from November 20 through November 24, further compressing

these deadlines.

       Alisa Klein is the supervisor on this case and also has supervisory responsibility

for the following briefs and oral arguments in the courts of appeals: Asante, et al. v.

HHS, No. 23-5055 (response brief due November 2); Electric Clouds Inc. v. FDA, No.

21-9577 (oral argument November 14); Johnson v. HHS, No. 23-5128 (reply brief due

November 22). Ms. Klein will also be out of the office the week of Thanksgiving.

       4. Counsel for plaintiff has represented that plaintiff takes no position on this

request.




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                              Respectfully submitted,

                              ALISA B. KLEIN
                               /s/ Courtney L. Dixon
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NOVEMBER 2023




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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 1, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the appellate CM/ECF system. Service will be

accomplished automatically by the appellate CM/ECF system on all other counsel,

who are CM/ECF participants.



                                               /s/ Courtney L. Dixon
                                              COURTNEY L. DIXON
